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                              UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS (BOSTON)

 IN RE:

 Laura Patricia Heras,
 Debtor


 Wells Fargo Bank, N.A.,                                   CHAPTER 7
                                                           CASE NO. 21-11005-FJB
 VS.

 Laura Patricia Heras


                                  MOTION FOR RELIEF FROM STAY

To the Honorable Frank J. Bailey:

Wells Fargo Bank, N.A., your moving party in the within Motion, hereby requests that the Court grant relief

from the Automatic Stay imposed by 11 U.S.C. §362 and respectfully represents:

1.      The movant has a mailing address of Wells Fargo Bank, N.A., MAC N9286-01Y Default

Document Processing, P.O. Box 1629, Minneapolis, MN 55440-9790.

2.      Lauara Patricia Hearas (“Debtor”) has a mailing address of 20 Laura Rd, Waban, MA 02468-2163.

3.      On July 8, 2021, the Debtor filed a petition under Chapter 11 of the United States Bankruptcy Code in

the United States Bankruptcy Court for the District of Massachusetts. The case was converted under Chapter 7

of the United States Bankruptcy Code on August 31, 2021.

4.      The movant is the holder of a mortgage on real estate in the original amount of $520,000.00 given by

Laura Heras, Trustee of the Heras Family Real Estate Trust, U/D/T dated 1/30/98 to Wells Fargo Bank, N.A.

on or about October 16, 2008. Said mortgage is recorded in the Middlesex County Registry of Deeds at Book

51825, Page 465 and covering the premises located at 20 Laura Rd, Waban, MA 02468.

5.      Said mortgage secures an Equity Line Account Agreement given by Laura Heras, Trustee of the Heras

Family Real Estate Trust, U/D/T dated 1/30/98 and Nicholas Heras, Jr. to Wells Fargo Bank, N.A. in the

original amount of $520,000.00. Wells Fargo Bank, N.A., services the loan on the property referenced in
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this motion for relief on behalf of Wells Fargo Bank, N.A.. Debtor executed a promissory note secured by a

mortgage or deed of trust. The promissory note is either made payable to Creditor or has been duly endorsed.

Creditor, directly or through an agent, has possession of the promissory note. Creditor is the original mortgagee

or beneficiary or the assignee of the mortgage or deed of trust.

6.      There is no other collateral securing the obligation.

7.      Wells Fargo Bank, N.A. is the current holder of the mortgage, which has not been assigned. A copy of

said mortgage and equity line agreement have been attached hereto as Exhibit A.

8.      There is no Declaration of Homestead recorded.

9.      As of November 10, 2021, approximately $537,788.10 in principal, interest, late fees and other charges

was due with regard to Wells Fargo Bank, N.A.'s note and mortgage.

10.     According to the debtor’s Statement of Intention, the subject property is being surrendered.

11.     There are the following encumbrances on the property:


 Name of Creditor                                    Type of Lien              Amount Owed
 Movant                                              Equity Line               $537,788.10

 Maine Capital Group                                 Mortgage                  $187,000.00

 Newmarket Triangle LLC                              Mortgage                  $21,482,223.40

 Select Portfolio Servicing, Inc.                    Mortgage                  $1,446,093.00


 Total Secured Encumbrances:                                                   $23,653,104.50


12.     According to the debtor’s schedules, the fair market value of the subject property is $3,426,900.00.

The liquidation value of the subject property is $3,205,159.34, calculated as the fair market value less a

reasonable realtor’s fee (6%); deed stamps $15,626.66 and anticipated costs incurred for a real estate closing

of $500.00.


13.     The note and mortgage are in default for the September 20, 2019 payment, and all payments thereafter.




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14.     The movant seeks relief from stay as a secured creditor to enforce its rights under its loan documents

and applicable law. In support thereof, the movant states that it is entitled to relief:

         I.       Pursuant to 11 U.S.C. §362 (d)(1) for cause on the basis that the debtor is in default on said

                  contractual obligations, the primary purpose of a Chapter 7 proceeding is to liquidate the

                  assets of the debtor, there is no equity and the trustee has no motivation to liquidate the subject

                  property;

         II.      Pursuant to 11 U.S.C. §362 (d)(2) on the basis that there is no equity in the subject property

                  and, there being no reorganization in prospect, the property is not necessary for effective

                  reorganization.

WHEREFORE, the movant prays that it, and its successors and/or assigns, be granted relief from the automatic

stay for the purpose of: (i) exercising its rights under its agreements with the debtor and under applicable law;

and (ii) that the Court order such other and further relief as may be just and proper.


                                                         Respectfully submitted,
                                                         Wells Fargo Bank, N.A.,
                                                         By its Attorney
                                                         _______________________
                                                         /s/ Zoh Nizami
                                                         Joseph Dolben
                                                         BBO# 673113
                                                         Zoh Nizami
                                                         BBO# 697116
                                                         Harmon Law Offices, P.C.
                                                         PO Box 610389
                                                         Newton Highlands, MA 02461
                                                         (617)558-0500
                                                         mabk@harmonlaw.com



Dated: November 17, 2021




                  If the debtor has been negatively impacted by COVID-19, the debtor may contact
                    Wells Fargo Home Mortgage to discuss a personalized solution at 1-800-274-
                   7025. Written attorney consent may be required to speak directly with the debtor
                                                 about these options.


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                                 UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS (BOSTON)

 IN RE:                                                                Case No. 21-11005-FJB
                                                                       Chapter 7
 Laura Patricia Heras,
 Debtor

                                         CERTIFICATE OF SERVICE

        I, Zoh Nizami, state that on _______________,
                                      November 17, 2021 I electronically filed the foregoing document with the
United States Bankruptcy Court for the District of Massachusetts on behalf of Wells Fargo Bank, N.A. using
the CM/ECF System. I served the foregoing document on the following CM/ECF participants:

Jesse Redlener
Jason Giguere
Reneau J. Longoria
Chaz R. Fisher
Christopher M. Candon
Lee Harrington
Eric K. Bradford
Thomas S. Vangel
John O. Desmond
Harold B. Murphy
Richard T. King

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the Court
on the following non CM/ECF participants:

Nicholas Heras
20 Laura Road
Waban, MA 02468

Laura Patricia Heras
20 Laura Rd.
Waban, MA 02468

Newton Assessors Office
1000 Commonwealth Avenue #116
Newton Centre, MA 02459

Maine Capital Group
4 City Center
Portland, ME 04101

Newmarket Triangle LLC
28 State Street, 22nd Fl.
co Sheehan Phinney Bass & Green



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Boston, MA 02111

Select Portfolio Servicing, Inc.
P.O. Box 65250
Salt Lake City, UT 84165



                                               Respectfully submitted,
                                               Wells Fargo Bank, N.A.,
                                               By its Attorney
                                               _______________________
                                               /s/ Zoh Nizami
                                               Joseph Dolben
                                               BBO# 673113
                                               Zoh Nizami
                                               BBO# 697116
                                               Harmon Law Offices, P.C.
                                               PO Box 610389
                                               Newton Highlands, MA 02461
                                               (617)558-0500
                                               mabk@harmonlaw.com



Dated: November 17, 2021




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